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                                                                                       March 13, 2024

                                                                                 CLERK, U.S. DISTRICT COURT
                       IN THE UNITED STATES DISTRICT COURT                       WESTERN DISTRICT OF TEXAS
                        FOR THE WESTERN DISTRICT OF TEXAS                            By:        DT
                                 El PASO DIVISION
                                 EL Paso                                                              Deputy

 UNITED STATES OF AMERICA,                       §               Case No:             EP:24-CR-00559-DCG
                                                 §
         Plaintiff,                              §    INDIC TMENT
                                                 §
 v.                                              §   CT 1: 8 U.S.C. §§ 1324(a)(1)(A)(v)(I),
                                                 §   Conspiracy toTransport an Alien
 ADRIAN ZANABRIA                                 §
                                                 §
         Defendant.                              §   CT 2: 8 U.S.C. §§ 1324(a)(1)(A)(ii) and
                                                 §                  Transporting an
                                                     (a)(1)(B)(i) - Transporting    Alien
                                                                                 an Alien
                                                 §



        THE GRAND JURY CHARGES:

                                         COUNT ONE
                  (8 U.S.C. §§ 1324(a)(1)(A)(v)(I), (a)(1)(A)(ii) and (a)(1)(B)(i))

                                                                           Defendant,

                                     ADRIAN ZANABRIA,

knowingly, intentionally, and unlawfully conspired, combined, and confederated, and agreed with

others known and unknown to the Grand Jury, to commit an offense against the United States,

namely: to transport and move and attempt to transport and move an alien within the United States

knowing and in reckless disregard of the fact that said alien had come to, entered, and remained in

the United States in violation of law, said transportation being in furtherance of said violation of

law, in violation of Title 8, United States Code, Sections 1324(a)(1)(A)(v)(I), (a)(1)(A)(ii) and

(a)(1)(B)(i).
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                                        COUNT TWO
                          (8 U.S.C. §§ 1324(a)(1)(A)(ii) and (a)(1)(B)(i))

                                                                             Defendant,

                                      ADRIAN ZANABRIA,

knowing and in reckless disregard of the fact that an alien had come to, entered and remained in

the United States in violation of law, transported and moved, and attempted to transport and move

such alien within the United States in furtherance of said violation of law, in violation of Title 8,

United States Code, Sections 1324(a)(1)(A)(ii) and (a)(1)(B)(i).




                                              A TRUE BILL.

                                                      4g2Q


                                              FOREPERSON OF THE GRAND JURY



JAIME ESPARZA
UNITED STATES ATTORNEY

BY:




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